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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION


UNITED STATES OF AMERICA                         §

V.                                               §       CASE NO. 6:16cr15(04)

CALVIN LEE BROWNING                              §



                       ORDER ADOPTING THE REPORT AND RECOMMENDATION
                            OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the Federal

Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his Report and

Recommendation of the United States Magistrate Judge [Clerk’s doc. #90]. The Magistrate Judge

recommended that the Court accept Defendant’s guilty plea and conditionally approve his plea

agreement. He further recommended that the undersigned finally adjudge Defendant as guilty on

Count One of the Superseding Indictment against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion that

the Report and Recommendation should be accepted. It is accordingly ORDERED that the Report and

Recommendation [Clerk’s doc. #90] of the United States Magistrate Judge is ADOPTED.
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            It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the Court.

    Further, the plea agreement is approved by the Court, conditioned upon a review of the presentence

    report. It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the

    Defendant GUILTY of Count One of the Superseding Indictment in the above‐numbered cause and

    enters a JUDGMENT OF GUILTY against the Defendant as to Count One of the Superseding Indictment.
    SIGNED this 26th day of August, 2016.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE
